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   EXHIBIT D
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                        Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.




                        DECLARATION OF


I,                       , declare as follows:


     1.                        is my legal given name to file this declaration.


     2. I am an employee at a manufacturing facility in a midwestern state. I am also a member

          of United Steelworkers which is a local affiliate of the AFL-CIO.


     3. In January of this year, I experienced a fatality in my workplace of a fellow union

          member. My fellow union brother was found unconscious in a spray booth where he had

          been electrostatic powder coating parts. Due to the design of piping elsewhere in the

          workplace, nitrogen, an invisible, tasteless and odorless gas, leaked or backfilled into a

          line which normally supplied breathable air to our member’s supplied air respirator hood.

          As a result, he was overcome by inhaling concentrated nitrogen, passed out, and died of

          nitrogen asphyxia. The fatality happed due to poor plumbing design of the compressed air

          system when a new machine was installed that used nitrogen, and it contaminated the
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   supplied air system.


4. In order to try and get safer working conditions for my co-workers and myself, my union

   assisted me in the fatality investigation with the Department of Labor as I’ve never been

   part of an OSHA inspection, and what information was needed of me, as well as our

   union members.


5. The information I provided to the Department of Labor included my personal address,

   cell phone, email, and employee ID number, which to the best of my knowledge is now

   on file with the Department of Labor in their investigation file.


6. When I participated in this OSHA investigation, the Department of Labor and my union

   assured me that my identity would be kept confidential. In the course of the investigation,

   I provided information about unsafe working conditions during my interactions with the

   OSHA inspector, and during employee interviews. I would not want this information to

   be made available to my employer or the public, for fear of retaliation to myself and our

   union members.


7. This promise of confidentiality was extremely important to me as I knew the information

   I provided could lead to citations and fines being issued to the employer for not providing

   a safe workplace, and it would expose me to retaliation. But I knew that I had to tell the

   truth, and by doing so it will help the Department of Labor work with my employer to

   make a safer workplace. If my identity is released in association with the inspection, I

   and other coworkers who provided information, interview statements, and personal

   identifiable information will be at risk of retaliation from my employer.
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      8. When I participated in the fatality inspection, I only intended the information in it to be

         used to resolve workplace safety claims against my employer; I did not expect it to be

         used for any other purposes. I also participated as an employee representative of two

         other union members’ interviews, and they were told their information would be kept

         confidential. The two employees who make up a single department that only operates on

         one shift, provided statements and their personal information under the understanding

         that it would be kept confidential.


      9. I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 9, 2025.


/s/
